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             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

ALPHA PHI ALPHA FRATERNITY INC.
et al.,                                       CIVIL ACTION FILE
                                              NO. 1:21-CV-5337-SCJ
            Plaintiffs,

      v.
BRAD RAFFENSPERGER, in his official
capacity as Secretary of State of Georgia,

            Defendant.

COAKLEY PENDERGRASS et al.,
                                              CIVIL ACTION FILE
            Plaintiffs,                       NO. 1:21-CV-5339-SCJ
      v.
BRAD RAFFENSPERGER, in his official
capacity as the Georgia Secretary of State,
et al.,

            Defendants.

ANNIE LOIS GRANT et al.,
                                              CIVIL ACTION FILE
            Plaintiffs,                       NO. 1:22-CV-122-SCJ

      v.

BRAD RAFFENSPERGER, in his official
capacity as the Georgia Secretary of State,
et al.,
            Defendants.
         Case 1:21-cv-05337-SCJ Document 273 Filed 07/31/23 Page 2 of 6




                               JOINT EXHIBIT LIST


                                                               Case Filed      Docket
Exhibit No.                   Description
                                                                  In            No.
    1         “2021 Committee Guidelines.” The document Pendergrass          ECF No.
              was published by the Georgia State Senate,                     174-11
              printed March 2, 2023.
    2         “2021-2022 Guidelines for the House        Pendergrass         ECF No.
              Legislative and Congressional                                  174-12
              Reapportionment Committee.” The document
              was published by the Georgia House of
              Representatives, printed March 2, 2023.


  The undersigned is authorized to state that each of the undersigned counsel for the
  parties hereby consents to entry of the foregoing Joint Exhibit List.


  s/Abha Khanna (w/express permission)          s/Bryan Tyson (w/express permission)
  Counsel for Pendergrass Plaintiffs            Counsel for Defendants


  s/Abha Khanna (w/express permission)
  Counsel for Grant Plaintiffs


  s/Rahul Garabadu (w/express permission)
  Counsel for Alpha Phi Alpha Plaintiffs




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     Dated: July 31, 2023.

     Respectfully submitted,

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     Case 1:21-cv-05337-SCJ Document 273 Filed 07/31/23 Page 4 of 6




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                      CERTIFICATE OF COMPLIANCE

      I hereby certify that the foregoing JOINT EXHIBIT LIST has been prepared

in accordance with the font type and margin requirements of LR 5.1, N.D. Ga., using

font type of Times New Roman and a point size of 14.


      This 31st day of July, 2023.



                                      /s/ Rahul Garabadu




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                          CERTIFICATE OF SERVICE

       I hereby certify that I have this day caused to be served the foregoing JOINT

EXHIBIT LIST with the Clerk of Court using the CM/ECF system, which will

automatically send email notification of such filing to all counsel or parties of record

on the service list.


       This 31st day of July, 2023.



                                        /s/ Rahul Garabadu




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